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Attorney for Defendant Timothy Glen Cuny

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CHRIS PRINCIPE,
Plaintii`f,
vs.

TIMOTHY GLEN CURRY A/K/A
TIMOTHY TAYSHUN,

Defendant.

 

 

Case No: 8:17-cv-00608

DECLARATION OF JENNIFER
McADAM IN SUPPORT OF
DEFENDANT TIMOTHY GLEN
CURRY’S OPPOSITION TO
PLAINTFF’S MOTION FOR
PRELIMINARY INJUNCTION

DATE: December 1, 2017
TIME: 2:30 p.m.
CTRM: 10 A

Hon. Josephine L. Staton

 

DECLARATION OF JENNIFER MCADAM IN SUPPORT OF DEFENDANT TIMOTHY GLEN
CURRY’S OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

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DECLARATION OF JENNIFER McADAM

1, Jennifer McAdam, declare:

I live in Scotland, in the United Kingdom, and am over the age of 18. The
facts stated in this declaration are within my personal knowledge, except those
stated to be on information and belief, and, if called upon, l could and Would
competently testify to them.

1. In April 2016, I joined GneCoin, which I thought at the time was a
genuine and authentic cryptocurrency investment opportunity. My personal
investment was 10,000 Euros, and collectively over a 1 year period, my team
collectively invested 250,`00 Euros.

2. I invested in OneCoin because what was presented to me was utterly
believable to anyone who did not have expertise in cryptocurrency or blockchain
technology. 1 was presented documents and video by OneCoin, showing OneCoin
to be a tremendous financial opportunity in the cryptocurrency world.

3. One of the main proponents of OneCoin that was shown to me was
Chris Principe. His Financial IT Magazine, featuring Ruja Ignatova, was presented
to show the alleged legitimacy of OneCoin. OneCoin also presented me videos of
Mr. Principe advocating for OneCoin, including videos of him endorsing OneCoin
at events in front of thousands and thousands of OneCoin members and potential
investors. He was presented by OneCoin to be a person With credible and valuable

advice in the financial industry, so I believed him When he advised that OneCoin

 

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was a great investment opportunity These representations by Mr. Principe helped
to lure me into investing into OneCoin.

4. OneCoin promised us astronomical high financial returns based on an
investment into a genuine cryptocurrency, a return that would change our financial
lives forever. We Were also told we Would be able to withdraw our investment
money that we gave to OneCoin after a few months if we wanted.

5. After a while I became suspicious of about OneCoin. I received a call
from'a friend who had invested 9,000 Euros on OneCoin, who expressed his
concerns that OneCoin was a pyramid Ponzi scheme and was not a genuine
cryptocurrency. To create a genuine cryptocurrency blockchain technology is
required, and OneCoin did not have such technology.

6. Additionally, OneCoin began switching banks they would use, from
one bank in one country, to another bank in another country. I realized that
OneCoin members that would question these actions, and others, would be
ostracized, being removed from OneCoin’s interactive What’s App application.
Members of the OneCoin group relied on What’s App to receive information about
what was happening with OneCoin, so people feared being removed from it.

7. I have asked for the money I invested in OneCoin to be retumed.
However, it has not been returned. I, and many others I know, have not been able
to withdraw our investment, and our requests to have our money returned have

been ignored or denied by OneCoin. We Were fraudulently sold a false financial

 

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dream that We believed to be true, and our money was taken from us.

8. I have gone to law enforcement regarding the money that was taken
for me. Hopefully I can get my money back. lt is hard awakening to the reality
that I, and many, many others, invested our savings in OneCoin, which l feel is just
a multi-billion dollar Ponzi scheme.

9. In April 2017, 1 created a support group for others like myself had
money fraudulently taken from us by OneCoin.

10. Tim Curry has been invaluable helping with the support group, by
helping me post factual information about OneCoin, and updating us regarding
other foreign authorities’ investigations into OneCoin. He gives us hope and faith
that there are still good people out there in this world who do really care for
innocent people who are losing their money and life savings, or entering into life-
long debt, in a Ponzi scheme such as OneCoin. Tim continues

11. It is my personal opinion that Chris Principe is responsible for helping
to spread OneCoin’s fraudulent schemes by promoting OneCoin in his magazine,
by appearing at live events endorsing OneCoin, and by allowing the use of videos
by GneCoin featuring him, in which he endorses investment into OneCoin.

12. I believe that the number of OneCoin victims is estimated to be over

three million.

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1 declare under penalty of perjury under the laws of the State of California

that the foregoing is true and correct. Executed in g § gun !Q Q\`,.j)cotland,

4 United Kingdom, on November 1 O, 2017

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